          Case 1:22-cv-01461-PKC Document 50 Filed 06/07/23 Page 1 of 3



                                                                                 750 Le ing on A en e, 9 h Fl
                                                                                          Ne Yo k NY 10022
                                                                                              (631) 506-8464
                                                                                              ai@ce ebel.la
J ne 7, 2023

H n able P. Ke in Ca el
Uni ed S a e Di ic C    S           he n Di ic     f Ne Y k
500 Pea l S ee
Ne Y k, Ne Y k 10007

RE: R be       Ma a . A a ca, I c, N .: 22-c -1461 (PKC)

Dea J dge Ca el,

       I ie       e e lea e file he acc m an ing P         ed Amic C iae B ief
( P      ed B ief ) in he ab e ca i ned ma e            he C        c n ide a i n f i Ma
26, 2023 O de     Sh Ca e (D.E. #33, he OSC ) a he hea ing ched led n J ne 8, 2023
  h a ne and a la fi m ( he S bjec A ne ) gh n be anc i ned f                         ed
 nin ended e      a i ing f m eliance n he e f a gene a i e a ificial in elligence f a e
a lica i n c nd c legal e ea ch         an   R le 11(b)(2) & (c) and nl inciden all
        c n ide a i n f anc i n f he ame         an    Fed. R. Ci . P., (2) 28 U.S.C. 1927.

       Since he blic elea e f he e l i na Cha GPT he f a e a lica i n
  hich he S bjec A ne ha e a ib ed hei e              in a elimina  bmi i n (D.E. #32,
A . 1) nl i m n h ag , j         h ee m n h bef e he filing f he e ne      ci a i n in he
ma e , I ha e de el ed e e i e a l ing he a cia ed echn l g la f m ( GPT
Pla f m ) legal anal i a f nde f Ne Y k C n ba ed Ce eBel Legal In elligence,
an AI f a e c m an ha           ide li iga i n           e ice   a ne , incl ding e nal
inj    lain iff and defen e a ne      ac icing in he S he n Di ic f Ne Y k.

       N    i h anding na i nal c nce n anging f m den lagia i m,       e dece i n, a
j b di lacemen , and a cal ic b ake e f h mani 1, Cha GPT i e               ed be he
m     a idl ad ed a lica i n in he hi - ea hi          f he c n me in e ne ( eaching 100
                                   2
milli n m n hl    e in      m n h ) and, al ng i h imila f a e       ided b   he , ha
  ickl ca i a ed legal ac i i ne 3. Ac      all cc a i n and ec , a ificial in elligence
i idel e ec ed d i e he f         h ind ial e l i n4 and be i al na i nal
c m e i i ene and he gl bal ec n m . A a e l , hi anc i n ma e ha ecei ed


1
   O e igh f A.I.: R le f A ificial In elligence , Uni ed S a e Sena e S bc mmi ee n P i ac , Techn l g ,
and he La , Ma 16, 2023 (T an c i )
2
   Cha GPT i g     ing fa e han TikT k, Feb a 1, 2023
3
   End f he Billable H ? La Fi m Ge On B a d Wi h A ificial In elligence. La e         a      e GPT-4
 echn l g     d legal e ea ch, d af d c men and anal e c n ac , Wa S ee J         a , Ma 11 h, 2023 and
  A.I. I C ming f La e , Again. P e i       ad ance in A.I. in i ed edic i n ha he la    a he l c a i e
    fe i n m likel        ffe j b l e . I didn ha en. I hi ime diffe en ?, Ne Y T e , A il 10, 2023
4
   The F    h Ind ial Re l i n: ha i mean , h           e nd, W ld Ec n mic F m, Jan a 4, 2016
          Case 1:22-cv-01461-PKC Document 50 Filed 06/07/23 Page 2 of 3




c n ide able c e age b na i nal media incl ding he Ne Y k Time , CNN, and man
infl en ial nline legal ade and echn l g    blica i n .

        Gi en he n     ie   f hi ma e , I am c nce ned ab      h   he Di ic fi
im e i n f e idence       d ced b gene a i e AI ill im ac he f he de el men and
ad i n f hi inn a i n f          blic benefi . Thi i e eciall     ince R le 11(c)(4) enable
 he C       i e anc i n ha ma e e              de e   c m a able c nd c b     he imila l
 i a ed. A in RE: Pennie & Edm nd LLP, N . 02-7177, 2003 WL 1191197 (2d Ci . Ma . 14,
2003) he ein he maj i         ined ha e e e R le 11 anc i n egime can ha e he effec f
de e ing legi ima e ac i n b c n el in he in e e f clien           f a ehen i n ha hei
c nd c ill e ne l be deemed im              e . and    lenien egime can emb lden hem
[ ake] im    e [ac i n ] n behalf f clien (in ha ca e,        make im     e bmi i n ),
he e a ha h egime c ld ha e he effec f di ading a ne f m ad ing echn l gie ha
    mi e inc ea e he ali and efficienc f c n el             ided clien .

       Indeed a anding de i ed n he fi b ine da af e he OSC b J dge B an le
S a (N.D. Te .) manda ing a ea ance in hi c          be acc m anied b nega i e ce ifica i n
 ega ding e f gene a i e a ificial in elligence, b n       ch ce ifica i n ega ding e f an
  he echn l g ha c ld be ed i e n ibl , ha al ead been idel mi e                     ed5 a a
   hibi i n n e f hi        e f l echn l g . The P          ed B ief de c ibe h     hi manda e
a bi a il di c imina e again ce ain ec         f he legal echn l g ind         , di ade
inn a i n hile nfai l fa ing en enched           in e      e [and] adi i nal legal da aba e ,
and i de imen al     he blic and he ba . Like         ible anc i n , he g al f H n able
Sa        de c ld be acc m li hed le      ej diciall b im l manda ing affec ed a ie
ackn ledge ha ha al a been e, ha n                  i n f an filing h ld be bmi ed
  ih     being checked f acc ac b a h man being and n ci a i n h ld be incl ded i h
being e nall and f ll e ie ed ega dle          f ha , if an , echn l g        li    ed
c m e hem.

       In de     de e mine he ea nablene       f he S bjec A ne e an e f he
  f a e alleged be e n ible f he bmi i n e               and, if deemed nece a , c af
 anc i n and/ di ec i e     de e c m a able c nd c b       he imila l i a ed he C
ma find i hel f l     nde and in g ea e de ail h    hi c m le and n el f a e          k,
h i a e en ed and made a ailable f          blic e, and ha i i and i n ca able f
d ing. The P      ed B ief   ide imel and ef l inf ma i n a i he C             :

   a) c n e al he       en ial ea nablene     f he S bjec A ne ' ac i n in ligh f
      ma ke me aging and he f a e            e e e ience:
   b) e al a e e idence a ib ed        he bjec f a e a lica i n;
   c) fa h m he f ll ca abili ie & limi a i n f he echn l g hen ed e n ibl ; and
   d) calib a e   en ial anc i n and an        ible di ec i e ha ecificall men i n
      gene a i e AI again      blic in e e .

 E.g. N Cha GPT in m c         , Te a j dge ban legal filing ha el n AI-gene a ed c n en , Te a j dge
ban filing    lel c ea ed b AI af e Cha GPT made ca e , Tec c c , T e H , CBS Ne , Ma 30, 2023,
J ne 2, 2023, and J ne 2, 2023 e ec i el .


                                                  2
         Case 1:22-cv-01461-PKC Document 50 Filed 06/07/23 Page 3 of 3




       I i      ell e abli hed ha di ic c              e he inhe en a h i             a in 'f iend
 f he c      ' a i in hei          ceeding ." (Ba h e F d T ck Sale , Inc., 471 F.3d 1233,
1249 n.34 (11 h Ci . 2006.) The le f an amic i            a i he c         "in ca e f gene al
   blic in e e b making gge i n             he c    ,b        iding      lemen a a i ance
e i ing c n el, and b in ing a c m le e and lena               e en a i n f diffic l i e         ha
 he c      ma each a         e deci i n." Ne a k B anch, N.A.A.C.P. . T n f Ha i n, N.J.,
940 F.2d 792, 808 (3d Ci . 1991). C           e mi b iefing f m an amic         hen: (1) a a i n
 e e en ed c m e en l ; (2) he amic ha an in e e ha ma be affec ed b he deci i n b
d e n en i le he amic           in e ene; (3) he amic ha ni e inf ma i n a ne
 e ec i e ha can hel he c            be nd ha he a ie can               ide. R an . C mm di
F     e T ading C mm'n, 125 F.3d 1062, 1064 (7 h Ci . 1997), Be Pa h ne , Inc. . D b in,
410 F. S      . 3d 457, 465 n.3 (E.D.N.Y. 2019). Al h gh lain iff a e e e en ed b
c m e en c n el and me f he a g men                 ffe ed in he          ed amic b ief a e
d lica i e f h e ai ed b lain iff , he c            ne e hele find he amici' e ec i e be
hel f l, C & A Ca b ne . C . f R ckland, 2014 WL 1202699, a *3 (S.D.N.Y. Ma ch 24,
2014.) E en a m e e ic i e ie ha [an] amic b ief h ld [ nl ] be all ed hen .
 he amic ha an in e e in me he ca e ha ma be affec ed b he deci i n in he e en
ca e ( h gh n en gh affec ed en i le he amic                in e ene and bec me a a in he
  e en ca e),        hen he amic ha ni e inf ma i n               e ec i e ha can hel he c
be nd he hel ha he la e f he a ie a e able                         ide. (C bell . N       n, 246 F.
S     . 2d 59, 62-63 (D.D.C. 2003.)       ld fa    he a ea ance f he             ed amic he e.

      I n ified all a ie n J ne 6 h b ele h ne and email f m in en i n   bmi hi
m i n. Sh ld he C       g an lea e file he P     ed B ief, I  ld make m elf a ailable
a he hea ing ched led n J ne 8, 2023       ide ha e e a i ance m e e i e migh
all and, if f he g an ed, make a g men in          f imila l i a ed a ie i h in e e
in he ha e and e en f ha c ld be eceden ial anc i n ela ed        hi im  an
eme ging echn l g .

Re ec f ll     bmi ed,




G eg    C. Belm n
P e
On behalf f m elf and Ce eBel Legal In elligence

CC:    All c n el ia email




                                                 3
